                               Hearing Date: 10/18/2019   10:00 AM - 10:00
                                                Case: 1:19-cv-05684        AM
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                                                                                    #: 207-1 Filed: 06/22/23 Page 1 of 86 PageID #:2240
                               Courtroom Number: 2405                                                                                  6/20/2019 12:11 PM
                               Location: District 1 Court                                                                              DOROTHY BROWN
                                       Cook County, IL                                                                                 CIRCUIT CLERK
                                                                                                                                       COOK COUNTY, IL
                                                                                                                                       2019CH07429
                                                                  IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                        5489146
                                                                     COUNTY DEPARTMENT, CHANCERY DIVISION

                                             MELINDA SGARIGLIA,                                         )
                                                                                                        )
                                             Condominium Owner,                                         )
                                                                                                        )
                                                    Plaintiff,                                          )
                                                                                                        )
                                             v.                                                         )       Case No. 2019CH07429
                                                                                                        )
                                             AMERICAN INTERNATIONAL RELOCATION                          )
                                             SERVICES, LLC, D.B.A. AIRES, AN ILLINOIS                   )
                                             LIMITED LIABILITY COROPORATION,                            )
                                             NICHOLAS GONRING & KELLY GONRING,                          )
                                                                                                        )
                                                    Defendants.                                         )
                                                                               VERIFIED COMPLAINT

                                                    Plaintiff, MELINDA SGARLIGLIA, by and through her attorneys, Carol Oshana and
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                                             Oshana Law, as and for her Complaint against Defendants, AMERICAN INTERATIONAL

                                             RELOCATION SEVICES, LLC, d/b/a AIRES, and NICHOLAS AND KELLY GONRING

                                             states as follows:

                                                                                 I.      THE PARTIES

                                                    1.      Plaintiff, MELINDA SGARIGLIA (“Sgariglia”), is a citizen of the State of

                                             Illinois, residing in Cook County, Illinois and an owner of a condominium located at 2726 West

                                             Cortez Street, Unit 1, Chicago, IL 60622 (“Condominium”). The property index number is 16-

                                             01-408-055-1001. The building consists of a 3-unit condominium association called 2726 W.

                                             Cortez Avenue Condominiums (“Condo Association”).

                                                    2.      Defendant, AMERICAN INTERATIONAL RELOCATION SEVICES, LLC,

                                             d/b/a AIRES (“AIRES”), is an Illinois Limited Liability Corporation that is located at 6 Penn

                                             Center West, Suite 200, Pittsburgh, PA 15276.




                                                                                 EXHIBIT 2
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                                                    3.      Defendant, Nicholas Gonring and Kelly Gonring (“The Gonrings”) are the former

                                             owners of the Condominium. They purchased the Condominium on or about May 5, 2016.
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                                                                            II.     JURISDICTION AND VENUE

                                                    4.      Jurisdiction is proper because the Complaint concerns a contract for the sale of a

                                             Condominium, which is located in Chicago, Illinois. Venue is proper in Cook County, Illinois,

                                             because the causes of action pled in Complaint are based upon transactions that occurred in Cook

                                             County, Illinois, and Plaintiff SGARIGLIA resides in Cook County, Illinois.

                                                                     III.         FACTS COMMON TO ALL COUNTS

                                                    5.      On or about May 21, 2018, Defendants listed the Condominium for sale on the

                                             MLS for the purchase price of $475,000.

                                                    6.      On June 8, 2019, Defendant ARIES signed a Condominium Real Estate Purchase

                                             and Sale Contract (“Sales Contract”) accepting the Plaintiff’s offer to purchase the

                                             Condominium. The purchase price $510,000.00, with the closing to occur on July 25, 2018.

                                             (See Sales Contract, attached as Exhibit A).

                                                    7.      At the time of the signing of the contract, and since May 5, 2016, The Gonrings

                                             were the owners of the Condominium and ARIES was not the owner.

                                                    8.      Attached to the Sales Contract is a Residential Real Property Disclosure Report

                                             under 765 ILCS 77/35, signed by The Gonrings. In it, they check the box “no” for all items

                                             requesting if they are aware of any defects, including “leaks or material defects in the roof,

                                             ceilings, or chimney” and defects “in the walls, windows, doors or floors.” (See Disclosure

                                             Report, attached as Exhibit B-1). Plaintiff relied upon the Sellers’ representations and proceeded

                                             with the purchase of the Condominium.




                                                                                             2
       9.      In addition, the Defendants signed a Sellers Property Disclosure Statement that
was provided to Plaintiff Sgariglia. (See Property Disclosure Statement, attached as Exhibit B-
2). Also as to whether they were aware of water leakage, the Defendants only disclose that “unit
3 had leaks on west facing windows HOA sealed building to resolve Unit 3 leak.” (See para.
6a.). When asked if they were aware of any past or present “deterioration or other problems with
the walls, foundations or other structural components,” the Defendants answered “no.” Plaintiff
relied upon the Sellers’ representations and proceeded with the purchase of the Condominium.
       10.     Also part of the Sales Contract is an Addendum to Purchase and Sale Agreement,
which identifies AIRES as the Seller. (See Addendum, attached as Exhibit C).
       11.     On June 14, 2018, attorneys for Plaintiff Sgariglia sent an attorney review letter to
Defendants’ attorney. (See June 14, 2018 letter, attached as Exhibit D). In paragraph 8, Plainitff
Sgariglia asks the Seller Defendants to verify that the Condo Association has not experienced
any instances of water (interior or exterior) leaking into the Property and/or any water damage
during Seller’s ownership of the Property.” Further, in paragraph 9, Plaintiff Sgariglia’s attorney
asked if there had been any insurance claims within the last 5 years and if there any “any other
matter concerning this property or the Seller that may interfere with the Buyer’s enjoyment and
marketability of the property.”
       12.     On June 18, 2018, Defendant AIRES’ attorney responded to the letter and refused
to answer paragraphs 8e, 9a and 9e, claiming that as a relocation company, they are unable to
make any representation or warranties beyond its factual report. (See June 18, 2018 letter,
attached as Exhibit E.)
       13.     On June 22, 2018, counsel for Plaintiff Sgariglia reiterated their request for
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information under paragraphs 8e, 9a and 9e. (See June 22, 2018 letter, attached as Exhibit F).
                                                 3
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                                                    14.     On July 2, 2018, Defendant AIRES responded that they have no knowledge of

                                             any leaks “when the information reported in the Residential Real Property Disclosure Report or
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                                             other homeowner provided disclosures makes no mention of water infiltration issues within the

                                             Property.” (See July 2, 2018 letter, attached as Exhibit G.)

                                                    15.     In the same letter, Seller reports no insurance claims were made against their

                                             homeowners’ insurance within the last 5 years, and that that Seller reports that the property is not

                                             subject to any current or pending complaints.” (See Exhibit G, para. 8, 9).       Plaintiff Sgariglia

                                             relied upon this representation in proceeding with the purchase of the Condominium.

                                                    16.     The Defendants provided a 22.1 statement to Plaintiff Sgariglia that asks if any

                                             capital expenditures were anticipated by the Association for the current or next to fiscal years

                                             that would require a special assessment and/or increase in the monthly assessments, and the

                                             Association answered “No.” (See 22.1 Statement, attached as Exhibit H). Defendants were well

                                             aware that this was a false statement.

                                                    17.     On or about July 25, 2018, Defendants The Gonrings conveyed the Condominium

                                             to Plaintiff Sgariglia by Warranty Deed.

                                                    18.     On September 7, 2018, John Gorr, the owner of the 3, informed Plaintiff Sgariglia

                                             that “there has been a history of water intrusion to the building” and that the “history of the water

                                             intrusion has been thoroughly documented over some years and was clearly communicated along

                                             the way to the other unit owners.” (See September 7, 2018, attached Exhibit I).

                                                    19.     Plaintiff Sgariglia demanded and received the history of documentation as it

                                             pertains to the condominium association. By way of example, emails between the owners

                                             complaining about water infiltration in the condominium building go back as far as April 2013.

                                             (See April 18, 2013 email, attached as Exhibit J).




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                                                    20.     Complaints continued after Defendant The Gonrings purchased the Condominium

                                             after May 5, 2016. Specifically, on December 4, 2017, John Gorr informed The Gonrings that
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                                             an engineer concluded that water had been entering his unit due to improper flashing. (See

                                             December 4, 2017 email, attached as Exhibit K.) In addition, on February 20, 2018, an email

                                             from Defendant Kelsey Gonring demonstrates that they became aware of the history of the water

                                             infiltration and that “because the water infiltration issue has not been properly addressed and has

                                             gotten so bad and costly, you are now reaching out to the HOA.” (See February 20, 2018 email,

                                             attached as Exhibit L.)

                                                    21.     In addition, The Gonrings were aware that the issue had been ongoing for the last

                                             5 years and that this was an HOA issue, including the requirement about fixing the flashing.

                                             (See March 12, 2018 email, attached as Exhibit M).

                                                    22.     During Defendant The Gonring’s ownership of the Condominium, the

                                             Association received an ESI Investigative Report that was sent to Mr. Gorr on November 29,

                                             2017. (See ESI Investigative Report, attached as Exhibit M). The Investigative Report opines

                                             that water infiltration was occurring “at various locations of the structure, but particularly at

                                             window and door openings,” with the problem due to deficiencies in the “original construction of

                                             the building with the predominate issue being improper flashing at wall openings.” (See Exhibit

                                             N, page 4).

                                                    23.     The Association made a claim on its insurance coverage, which was denied on or

                                             about November 30, 2017. (See November 30, 2017 letter from Erie Insurance, attached as

                                             Exhibit O).




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                                                     24.     The Association received quotes for exterior and interior inspection on or about

                                             March 6, 2018 from Bral Restoration, LLC. (See March 6, 2018 proposal, attached as Exhibit
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                                             P). John Gorr, as President of the HOA accepted this proposal. (See Exhibit P, page 2).

                                                     25.     On May 3, 2018, Bral Restoration, LLC followed up on its investigative results to

                                             the Association, and determined that the “existing flashing was through wall that allowed water

                                             to penetrate right into the back of block.” (See May 3, 2018 Water Investigation Results,

                                             attached as Exhibit Q). Bral Restoration also submitted its proposal for work to repair the

                                             building. (See Exhibit Q).

                                                     26.     The Association also pursued other quotes. For example, on or about March 30,

                                             2018 it received a quote from Gralak Tuckpointing. (See March 30, 2018 Estimate, attached as

                                             Exhibit R). Also on May 7, 2018, Defendant Kelsey Gonring received a quote from Arrow

                                             Masonry, describing work to be performed on the Building, including installing flashing “above

                                             all 3 rear decks.” (See May 7, 2018 Arrow Masonry and Exteriors Contract, attached as Exhibit

                                             S).

                                                     27.     The Defendants never provided Plaintiff Sgarigilia with any of the reports or

                                             estimates.

                                                     28.     The Defendants never disclosed any problems associated with the flashing to

                                             Plaintiff Sgariglia.

                                                     29.     Despite being informed of the myriad of structural problems and leaks associated

                                             with the Building, Sellers failed to disclose the defects in their Residential Real Property

                                             Disclosure Report, which states that the information is being provided as of May 17, 2018, and

                                             states under line 6 that the Sellers are not aware of material defects in the walls, windows, door,

                                             or floors. (See Exhibit B-1, para 6.).




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                                                       30.   On its Aires disclosure report, the Sellers concealed the magnitude of the problem

                                             and warranted that the issues were resolved, while concealing the defects by answering “no”
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                                             when as asked about problems with the walls or other structural components. (See Exhibit B-2,

                                             para. 6a and 6b).

                                                       31.   Defendants intentionally misrepresented to Plaintiff Sgarligia that there was no

                                             water leakage and that “the provided disclosures makes [sic] no mention of water infiltration

                                             issues within the Property.” (See Exhibit G, para. 7.) The Defendants received a report and

                                             were obtaining quotes to address the water infiltration a mere few weeks before the

                                             Condominium was listed for sale.

                                                       32.   Defendants intentionally misrepresented that they had made no claims against

                                             their homeowners’ insurance within the last five years, when there was a claim for coverage that

                                             had been made less than 1 year before. (See Exhibit G, para. 8; see also Exhibit N).

                                                       33.   Upon learning of the exact nature of the concealed defects, Plaintiff has obtained

                                             quotes for repairs.    The total amount of estimate repairs will costs the entire Association

                                             approximately $275,000.00 and Plaintiff is responsible for 44%.

                                                       34.   Plaintiff Sgariglia’s Condominium has depreciated in value due to the defects.

                                                                              COUNT I
                                             (VIOLATION OF 765 ILCS 77/35 ET SEQ. AGAINST DEFENDANTS NICHOLAS AND
                                                                          KELLY GONRING)

                                                       35.   Plaintiff restates and reiterates paragraphs 1 through 34 as though full restated

                                             herein.

                                                       36.   The Illinois Residential Real Property Disclosure Act (“Disclosure Act”) requires

                                             Sellers of property to disclose certain conditions of the property. 765 ILCS 77/35.




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                                                       37.   Under the pertinent portions of the Disclosure Act, “A person who knowingly

                                             violates or fails to perform any duty prescribed by any provision of this Act or who discloses any
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                                             information on the Residential Real Property Disclosure Report that he knows to be false shall be

                                             liable in the amount of actual damages and court costs, and the court may award reasonable

                                             attorney fees incurred by the prevailing party. (765 ILCS 77/55).

                                                       38.   Defendants violated the Disclosure Act by failing to mention any of the defects

                                             that they were well aware of.

                                                       WHEREFORE, Plaintiff, MELINDA SGARIGLIA, prays for the entry of judgment in

                                             his favor and against Defendants, NICHOLAS & KELLY GONRING, in an amount in excess of

                                             $100,000.00, plus costs, attorney fees, prejudgment interest, costs, and whatever further relief the

                                             Court deems necessary or appropriate under the circumstances.

                                                                                     COUNT II
                                                                            (FRAUDULENT CONCEALMENT)

                                                       39.   Plaintiff Sgarigilia repeats and realleges the allegations contained in Paragraphs 1

                                             through 38 of the Complaint as though actually pled herein.

                                                       40.   Defendants were well apprised of the problems associated with the Condominium

                                             Association building structure.

                                                       41.   Defendants had a duty to disclose all latent defects to Plaintiff Sgariglia.

                                                       42.   Defendants concealed the latent defects by intentionally providing false

                                             information in the disclosures and the letters to Plaintiff’s attorney, while claiming minor issues

                                             had been allegedly resolved.

                                                       43.   Defendants concealed their claim for insurance and denied making any such

                                             claims.




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                                                    44.     Defendants made the false statements to induce Plaintiff Sgariglia to purchase the

                                             Condominium, and Plaintiff Sgariglia did rely upon those statements and purchased the
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                                             Condominium.

                                                    45.     The defects were not discovered by a professional inspector who Plaintiff retained

                                             and were not readily visible to either the professional inspector or to Plaintiff Sgariglia.

                                                    46.     The information was material to Plaintiff Sgariglia, as the quotes provided to

                                             Defendants by contractors demonstrated that work could easily cost $125,000.00, according to

                                             estimates.

                                                    WHEREFORE, Plaintiff, MELINDA SGARIGLIA, prays for the entry of judgment in

                                             his favor and against Defendants, AMERICAN INTERATIONAL RELOCATION SEVICES,

                                             LLC, d/b/a AIRES, and NICHOLAS AND KELLY GONRING., in an amount in excess of

                                             $100,000.00, or in the alternative, rescission of contract and restitution, plus costs, prejudgment

                                             interest, attorney fees and whatever further relief the Court deems necessary or appropriate under

                                             the circumstances.



                                                                                     COUNT III
                                                                               (BREACH OF CONTRACT)

                                                    47.     Plaintiff Sgarigilia repeats and realleges the allegations contained in Paragraphs 1

                                             through 46 of the Complaint as though actually pled herein.

                                                    48.     Within every contract is the covenant of good faith and fair dealing.

                                                    49.     Defendants violated the duty of good faith and fair dealing by concealing the

                                             structural problems associated with the Condominium, the claim against insurance and the

                                             complaints of water seepage that were well known to Defendants.




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                                                    WHEREFORE, Plaintiff, MELINDA SGARIGLIA, prays for the entry of judgment in

                                             his favor and against Defendants, AMERICAN INTERATIONAL RELOCATION SEVICES,
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                                             LLC, d/b/a AIRES, and NICHOLAS AND KELLY GONRING., in an amount in excess of

                                             $100,000.00, or in the alternative, rescission of contract and restitution, plus costs, prejudgment

                                             interest, attorney fees and whatever further relief the Court deems necessary or appropriate under

                                             the circumstances.

                                                    .

                                                                                                  MELINDA SGARIGLIA,,
                                                                                                  Plaintiff


                                                                                                  BY:_____________________________
                                                                                                        One of her Attorneys


                                             Carol Oshana, Esquire
                                             OSHANA LAW
                                             33 N. Dearborn, Suite 200
                                             Chicago, Illinois 60602
                                             312-404-8390
                                             Oshanalaw@yahoo.com

                                             Dated: June 11, 2019




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                                                                              EXHIBIT A
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                                                                                         EXHIBIT B-1
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                                                                        EXHIBIT B-2
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                                                                             EXHIBIT C
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                                                                                                                              26 Blaine Street
                                                                                                                                                Hinsdale, IL 60521

                                             REAL ESTATE, ESTATE PLANNING, PERSONAL INJURY                                                      Phone: 630.789.6833
                                                                                                                                                Fax: 630.230.1119
                                                                                                                                                www.hglegal.com
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                                                   Via facsimile 630-629-0580
                                                                                                                    June 14, 2018
                                                   Ms. Sarah Wilkins
                                                   Attorney at Law

                                                   Re:     2726 W. Cortez Street, Unit 1, Chicago, IL 60622
                                                           Aires to Sgariglia

                                                   Dear Ms. Wilkins,

                                                   Please be advised that our office is representing the Buyer, Melinda Sgariglia, in the above referenced real
                                                   estate transaction. This letterhead should provide you with our information. Should you need anything
                                                   else, please do not hesitate to contact our office.

                                                   Pursuant to the Attorney Modification Provision, I hereby approve of the contract subject to the following
                                                   modifications:
                                                          1) If this unit comes with a parking space(s), please confirm that the parking space will be insured
                                                              as a separate parcel on the title policy and please confirm whether said space is a limited
                                                              common element, assigned or deeded.
                                                          2) If this unit comes with a storage space(s), please confirm that the storage space will be insured
                                                              as a separate parcel on the title policy and please confirm whether said space is a limited
                                                              common element, assigned or deeded.
                                                          3) Paragraph 3: To confirm, the sales price is $510,000.00.
                                                          4) Paragraph 6: All remaining earnest money shall be tendered within 3 business days after the
                                                              parties reach agreement per paragraphs 15 and 16 of the purchase contract.
                                                          5) Paragraph 7: Mortgage Contingency
                                                                  a. Line 36: To confirm, the first commitment date is July 6, 2018.
                                                                  b. This contract is contingent upon the lender appraising the property for an amount at
                                                                      least equal to the purchase price.
                                                                  c. Please omit all references to seller procured financing.
                                                                  d. The term “written mortgage commitment” is hereby modified to state a “written
                                                                      mortgage commitment subject to only at closing conditions and matters of title and
                                                                      survey as determined in the sole discretion of the Buyer’s lender.”
                                                                  e. In the event seller fails to respond to or denies an extension under this provision, at
                                                                      Buyer’s sole election, Buyer reserves the right to waive said extension and proceed
                                                                      under the previously agreed-upon terms or declare the contract null & void and receive
                                                                      the return of earnest money.
                                                          6) Paragraph 8: Closing
                                                                  a. To confirm, the closing date shall be July 25, 2018.
                                                                  b. The parties agree that in the event the closing is delayed for any reason due to the
                                                                      new TRID guidelines that the Buyer will not be considered in default of the contract
                                                                      and the Seller will agree to extend the closing date as necessary.


                                                                                        EXHIBIT D

                                                                             Attorneys: Paul B. Garver, Esq. ~ Thomas B. Hawbecker, Esq.
                                                             Lynn M. Graham, Esq. ~ Melissa A. Grisoni, Esq. ~ Kirk D. Langefeld, Esq. ~ Themis Katris, Esq.
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                                                      c. Closing shall take place at a title company of Seller’s choosing at the office situated
                                                          nearest to the Property or the Chicago Loop office of the Seller’s chosen title company.
                                               7) Paragraph 11: Seller shall pay the 2017 2nd installment at or prior to closing should said bill be
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                                                  issued. If not, the 2017 taxes shall be prorated at 110% of the last ascertainable full years tax
                                                  bill. As 2018 is reassessment year in the city of Chicago,. The property is currently assessed
                                                  at $33,177, which is well below the purchase price. The proration per the contract does not
                                                  tax into account the pending increase in assessed value. 2018 taxes shall be prorated by taking
                                                  the 10% of the purchase price, $51,000, multiplied by the most recent ascertainable tax rate
                                                  and equalization factor.
                                               8) Paragraph 12: Homeowners Association
                                                      a. If any special assessment is discussed, levied or approved prior to the date of closing,
                                                          Seller shall be responsible for the full payment thereof.
                                                      b. Paragraph 12, Line 73: The following is added after the sentence ending with
                                                          Association Documents. “This contract shall remain contingent upon Buyer’s approval
                                                          of those changes.”
                                                      c. Please confirm the monthly assessment is $215.00 and please confirm what is included
                                                          in the monthly assessment (gas, electric, water, cable, etc.).
                                                      d. Please have the Association complete a 22.1 disclosure. This contract is contingent
                                                          upon Buyer’s approval of same. Also, please provide a copy of the rules and
                                                          regulations, the last 12 months association minutes, the association budget, and condo
                                                          association declarations and bylaws including the plat which was recorded with the
                                                          declaration. This contract shall remain contingent upon the satisfactory review thereof.
                                                          In the event the property is not a condominium, but is part of a homeowner’s or
                                                          townhome association, then the Seller shall still cause the association to fill out a 22.1
                                                          form and provide the above requested documentation.
                                                      e. Please verify that the Condo Association has not experienced any instances of water
                                                          (interior or exterior) leaking into the Property and/or any water damage during Seller’s
                                                          ownership of the Property. If there have been any such occurrences, please provide
                                                          dates, locations, damage and any repairs made.
                                               9) Seller represents and warrants that the following are true and shall remain true at the time of
                                                  closing:
                                                      a. Sellers have not made any insurance claims within the last 5 years;
                                                      b. The real estate taxes for the subject property are not subject to a senior freeze discount,
                                                          senior exemption, improvement waiver, unimproved or partially unimproved status or
                                                          any other type of exemption or discount which may be dropped by virtue of this
                                                          transaction;
                                                      c. Seller agrees that if the amount of the most recent tax bill reflects a homeowner, senior
                                                          citizen or any other exemption, Seller has submitted all necessary documentation to the
                                                          County Assessor’s Office prior to closing to preserve said exemptions. In the event the
                                                          necessary documentation cannot be submitted prior to closing, the tax credits shall
                                                          prorated without such exemptions.
                                                      d. The Seller received all proper permits for any repairs completed during Seller’s
                                                          ownership of the property and will provide copies as well as a certificate of
                                                          occupancy if applicable; and
                                                      e. There are no complaints, violations, suits, citations, notices or other citations of any
                                                          kind whatsoever that are pending, concerning building code or zoning violations or in
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                                                                any other matter concerning this property or the Seller or that may interfere with
                                                                Buyer’s enjoyment and marketability of the property.
                                                    10) Paragraph 13: If any additional items occur or if any inaccuracies occur before closing that
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                                                        would require a supplement to the Residential Real Property Disclosure, Buyer will have the
                                                        right to accept the disclosure or inaccuracies or terminate the contract with the return of all
                                                        earnest money if the parties cannot reach agreement on Seller’s proposal to cure.
                                                    11) Paragraph C: At Seller’s expense, Seller will deliver or cause to be delivered to Buyer or
                                                        Buyer’s attorney within customary time limitations and sufficiently in advance of Closing, as
                                                        evidence of title in Seller or Grantor, a title commitment for an ALTA title insurance policy
                                                        in the amount of the Purchase Price with extended coverage by a title company licensed to
                                                        operate in the State of Illinois, issued on or subsequent to the Date of Acceptance.
                                                    12) Seller represents and warrants that they are not a foreign citizen and that Section 1445 of the
                                                        Internal Revenue Code does not apply to this transaction. Seller will present a signed FIRPTA
                                                        document to Buyer at closing.
                                                    13) Please verify that, to the best of Seller’s knowledge, the Property has not had any instances of
                                                        water (interior or exterior) leaking into the Property and/or any water damage during Seller’s
                                                        ownership of the Property. If there have been any such occurrences, please provide dates,
                                                        locations, damage and any repairs made.
                                                    14) Buyer respectfully requests an early morning closing (9:00 a.m.) on the July 25th if possible.
                                                    15) Please confirm if there are any rental restrictions with the Association.

                                             Pursuant to the Professional Inspection, Buyer hereby requests the following:
                                                    A) Buyer requests a $4500 credit in lieu of repairing the items listed on the inspection Summary
                                                        Page and Potential Safety Hazards page.
                                                    B) Can you please confirm the date the HVAC was last serviced? Are there any receipts
                                                        available?
                                                    C) Seller to call ComEd (866-639-3532 option 2. Buyer can’t put in this request) to notify them
                                                        there is a safety issue and that the power run from the alley to the neighbor’s property is too
                                                        close to this unit’s garage deck. Additionally, Seller to call customer care at 800-334-7661
                                                        and request that “sleeving” be put on the power run until the run is relocated per the above.
                                                        There should be ample time to complete these items and it is Buyer’s understanding that there
                                                        is no charge for this work. However, given the significant safety issue, if this is not completed
                                                        by July 25th 2018, the date of closing, Buyer respectfully requests that an escrow with sufficient
                                                        funds be established to handle any charges resulting from the power run relocation.
                                                    D) Flickering Lights- Seller to call ComEd customer care and explain that the unit is experiencing
                                                        flickering lights (800-334-7661). ComEd will determine if this issue is an inside/outside issue.
                                                        If a building issue, Buyer respectfully requests that a licensed electrician properly repair this
                                                        issue with a work order/receipt provided to Buyer prior to closing.

                                             These issues are in no way to be construed as a counteroffer but merely suggested modifications to the
                                             contract. In the event that some or all of the suggested modifications are not acceptable, then our client
                                             reserves the right to either waive some or all of the aforementioned suggested modifications, proceed
                                             under the terms of the contract as originally drafted, or to declare the contract to be null and void. If Seller
                                             agrees to this, please sign and return a copy of this letter via facsimile. I look forward to working with
                                             you in this transaction.
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                                             Sincerely,
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                                             Thomas B. Hawbecker                         Agreed and accepted:
                                                                                         This _______ Day of ____________, _______


                                                                                         ________________________________
                                                                                         Attorney for Seller
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